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                                                                          JS-6
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   7
                             UNITED STATES DISTRICT COURT
   8
                            CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        RICHARD MOORE, derivatively on
  11    behalf of VERB TECHNOLOGY
        COMPANY, INC.,                              Case No.: CV 19-8393-GW-MAAx
  12

  13           Plaintiff,                           FINAL ORDER AND JUDGMENT

  14
               vs.
  15
        RORY J. CUTAIA, JEFF
  16
        CLAYBORNE, and JAMES P.
  17    GEISKOPF,
  18
               Defendants,
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  20
               and

  21    VERB TECHNOLOGY COMPANY,
  22
        INC.,

  23           Nominal Defendant.
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             This matter came before the Court for hearing pursuant to this Court’s Order
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       Preliminarily Approving Derivative Settlement and Providing for Notice, dated
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       March 2, 2021 (the “Preliminary Approval Order”), on the application of the Parties
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   1   for final approval of the Settlement set forth in the Stipulation and Agreement of
   2   Settlement dated January 29, 2021 (the “Stipulation”). Due and adequate notice
   3   having been given to Current Verb Stockholders as required in said Preliminary
   4   Approval Order, and the Court having considered all papers filed and proceedings
   5   had herein and otherwise being fully informed of the premises and good cause
   6   appearing therefore, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED
   7   that:
   8           1.     This Final Order and Judgment (“Judgment”) incorporates by reference
   9   the definitions in the Stipulation, and except where otherwise specified herein, all
  10   capitalized terms used herein shall have the same meanings as set forth in the
  11   Stipulation.
  12           2.     This Court has jurisdiction over the subject matter of the Derivative
  13   Action, including all matters necessary to effectuate the Settlement, and over all
  14   Parties.
  15           3.     This Court finds that the Settlement set forth in the Stipulation is fair,
  16   reasonable, and adequate as to each of the Parties and Current Verb Stockholders,
  17   and hereby finally approves the Settlement in all respects and orders the Parties to
  18   perform its terms to the extent the Parties have not already done so.
  19           4.     The Derivative Action, all claims contained therein, and any other
  20   Released Claims, are hereby ordered as fully, finally, and forever compromised,
  21   settled, released, discharged and dismissed on the merits and with prejudice by virtue
  22   of the proceedings herein and this Judgment. The Parties are to bear their own costs,
  23   except as otherwise provided in the Stipulation.
  24           5.     Upon the Effective Date, Verb, Plaintiff, and each of Verb’s current
  25   stockholders shall be deemed to have, and by operation of this Judgment shall have,
  26   fully, finally, and forever released, relinquished, and discharged all Released Claims
  27   (including Unknown Claims) against the Released Persons. Verb, Plaintiff, and each
  28   of Verb’s current stockholders shall be deemed to have, and by operation of this
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   1   Judgment shall have, covenanted not to sue any Released Person with respect to any
   2   Released Claims, and shall be permanently barred and enjoined from instituting,
   3   commencing or prosecuting the Released Claims against the Released Persons.
   4   Nothing herein shall in any way impair or restrict the rights of any Party to enforce
   5   the terms of the Stipulation.
   6         6.     Upon the Effective Date, each of the Released Persons shall be deemed
   7   to have, and by operation of this Judgment shall have, fully, finally, and forever
   8   released, relinquished, and discharged Plaintiff, Plaintiff’s Counsel, Verb, and all
   9   Current Verb Stockholders (solely in their capacity as Verb stockholders) and each
  10   of their Related Persons from Defendants’ Released Claims. The Released Persons
  11   shall be deemed to have, and by operation of this Judgment shall have, covenanted
  12   not to sue Plaintiff, Plaintiff’s Counsel, Verb, any Current Verb Stockholders (solely
  13   in their capacity as Verb stockholders), or the Related Persons of any of them with
  14   respect to any Defendants’ Released Claims, and shall be permanently barred and
  15   enjoined from instituting, commencing or prosecuting Defendants’ Released Claims
  16   against Plaintiff, Plaintiff’s Counsel, Verb, all Current Verb Stockholders (solely in
  17   their capacity as Verb stockholders), and each of their Related Persons. Nothing
  18   herein shall in any way impair or restrict the rights of any Party to enforce the terms
  19   of the Stipulation.
  20         7.     The Court finds that the notice of the Settlement to Current Verb
  21   Stockholders was made in accordance with the Preliminary Approval Order and
  22   provided the best notice practicable under the circumstances to all Persons entitled to
  23   such notice, and said notice fully satisfied the requirements of due process.
  24         8.     The Court finds that during the course of the Derivative Action, the
  25   Parties and their counsel at all times complied with Rule 11 of the Federal Rules of
  26   Civil Procedure.
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   1         9.     The Court finds that the Fee and Expense Amount in the amount of
   2   seventy-five thousand dollars ($75,000.00) is fair and reasonable, in accordance with
   3   the Stipulation, and finally approves the Fee and Expense Amount.
   4         10.    The Court finds that the Service Award to Plaintiff in the amount of one
   5   thousand dollars ($1,000.00) is fair and reasonable, in accordance with the
   6   Stipulation, and finally approves the Service Award, to be paid by Plaintiff’s Counsel
   7   from the Fee and Expense Amount.
   8         11.    This Judgment, the facts and terms of the Stipulation, including any
   9   exhibits attached thereto, all proceedings in connection with the Settlement, and any
  10   act performed or document executed pursuant to or in furtherance of the Stipulation
  11   or the Settlement:
  12         (a) shall not be offered, received, or used in any way against the Parties as
  13         evidence of, or be deemed to be evidence of, a presumption, concession, or
  14         admission by any of the Parties with respect to the truth of any fact alleged by
  15         Plaintiff or the validity, or lack thereof, of any claim that has been or could
  16         have been asserted in the Derivative Action or in any litigation, or the
  17         deficiency, infirmity, or validity of any defense that has been or could have
  18         been asserted in the Derivative Action or in any litigation, or of any fault,
  19         wrongdoing, negligence, or liability of any of the Released Persons;
  20         (b) shall not be offered, received, or used in any way against any of the
  21         Released Persons as evidence of, or be deemed to be evidence of, a
  22         presumption, concession, or admission of any fault, misrepresentation or
  23         omission with respect to any statement or written document approved, issued,
  24         or made by any Released Person;
  25         (c) shall not be offered, received, or used in any way against any of the
  26         Released Persons as evidence of, or be deemed to be evidence of, a
  27         presumption, concession, or admission of any liability, fault, negligence,
  28         omission or wrongdoing, or in any way referred to for any other reason as
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   1         against the Released Persons, in any arbitration proceeding or other civil,
   2         criminal, or administrative action or proceeding in any court, administrative
   3         agency, or other tribunal; and
   4         (d) shall not be offered, received, or used in any way against Plaintiff or
   5         Plaintiff’s Counsel as evidence of, or be deemed to be evidence of, a
   6         presumption, concession, or admission that any of Plaintiff’s claims are
   7         without merit or that Plaintiff would not have been able to prevail on his claims
   8         at trial.
   9         12.     This Judgment, the Stipulation, the Settlement, and any act performed
  10   or document executed pursuant to or in furtherance thereof, shall not be admissible
  11   in any proceeding for any purpose, except to enforce the terms of the Settlement.
  12   However, the Released Persons may refer to the Settlement, and file the Stipulation
  13   and/or this Judgment, in any action that may be brought against them to effectuate
  14   the liability protections granted them thereunder, including, without limitation, to
  15   support a defense or claim based on principles of res judicata, collateral estoppel,
  16   full faith and credit, release, standing, good faith settlement, judgment bar or
  17   reduction or any other theory of claim preclusion or issue preclusion or similar
  18   defense or claim under U.S. federal or state law or foreign law.
  19         13.     Without affecting the finality of this Judgment in any way, the Court
  20   hereby retains continuing jurisdiction over: (a) implementation of the Settlement; and
  21   (b) all Parties for the purpose of construing, enforcing, and administering the
  22   Stipulation and this Judgment, including, if necessary, setting aside and vacating this
  23   Judgment, on motion of a Party, to the extent consistent with and in accordance with
  24   the Stipulation if the Effective Date fails to occur in accordance with the Stipulation.
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   1         14.   This Judgment is a final judgment and should be entered forthwith by
   2   the Clerk dismissing the Derivative Action with prejudice.
   3         IT IS SO ORDERED.
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   5   DATED: April 29, 2021
   6                                                ________________________________

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                                                    HON. GEORGE H. WU
                                                    U.S. DISTRICT JUDGE
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